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 1   Anne Chapman (#025969)
     anne@mscclaw.com
 2   MITCHELL | STEIN | CAREY | CHAPMAN, PC
 3   One Renaissance Square
     2 North Central Avenue, Suite 1450
 4   Phoenix, AZ 85004
 5   Telephone: (602) 388-1232

 6
 7                            UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF ARIZONA
 9
     United States of America,                   )   No. CR-18-00422-PHX-SPL (BSB)
10                                               )
11                        Plaintiff,             )   EMERGENCY MOTION TO STAY
                                                 )   SEIZURE OF ATTORNEYS’ FEES
12   vs.                                         )   AND JOINDER IN DEFENDANT
13                                               )   PADILLA AND VAUGHT’S
     Michael Lacey, et al.,                      )   EMERGENCY MOTION TO STAY
14                                               )   SEIZURE OF ATTORNEYS’ FEES
15                        Defendants.            )   AND REQUEST FOR IMMEDIATE
                                                 )   HEARING
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18          Undersigned counsel hereby request this Court issue a stay of seizure warrants
19   directed to funds held in counsel’s trust account for the payment of attorneys’ fees in
20   connection with the representation of witnesses in the above-captioned criminal case and
21   to determine the issues raised in Defendants’ Padilla and Vaughts’ Emergency Motion to
22   Stay Seizure of Attorneys’ Fees and Request for Immediate Hearing (“Padilla and Vaught
23   Motion”) currently set for hearing by this Court on November 16, 2018.
24          On November 8, 2018 counsel was notified by an attorney from the United States
25   Department of Justice’s Money Laundering and Asset Recovery Section that a warrant
26   had been issued (but not yet served) for the seizure of funds being held in counsel’s
27   IOLTA bank account to secure the payment of fees not yet earned in connection with the
28   representation of various current and former Backpage employee witnesses in this case.
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 1   See Seizure Warrant attached hereto as Exhibit A. Counsel was directed to wire funds to
 2   the United States by no later than Tuesday, November 13, 2018. See Email from Patrick
 3   Reid attached hereto as Exhibit B. The government advised that unless the funds were
 4   received by November 13, 2018, the seizure warrants would be served, which may result
 5   in the freezing of counsel’s entire IOLTA account.
 6          Counsel, having just received the communication yesterday, realizing Monday
 7   November 12 is a bank holiday and that the November 13 date would require immediate
 8   action to comply, requested a two-week continuance to permit contact with the eight
 9   clients impacted by the Warrant and to permit this Court to conduct the hearing set on
10   November 16, 2018. See November 9, 2018 Letter from Anne Chapman attached hereto
11   as Exhibit C. Undersigned counsel represented that the law firm would not move or
12   otherwise access the funds sitting in its IOLTA account that are subject to the Warrant
13   during the period of any stay. Counsel did not receive a response to the letter and
14   attempted to contact Mr. Reid and Mr. Kucera by phone. Reached by phone, Mr. Kucera
15   refused the request for a brief continuance but deferred to his Department of Justice
16   colleagues. Mr. Kucera followed up by email, copying yet another Department of Justice
17   attorney, Ms. Wick, who likewise confirmed that no extension of time would be
18   provided. See attached email chain with Ms. Wick and Mr. Kucera, attached hereto as
19   Exhibit D.
20          Counsel now requests an emergency stay of the seizure of these funds because
21   counsel needs time to contact clients impacted by the Warrant and this Court needs time
22   to determine the important issues raised in the Padilla and Vaught Motion. That Motion
23   raises significant legal issues regarding the seizure of these assets and this Court is set to
24   hear those issues on November 16. If the Court determines that the government’s novel
25   theory of forfeiture, which has never been accepted on the merits by any court, is
26   incorrect, the seizure of these funds is illegal and would be premature. A brief
27   continuance to permit the Court to resolve these issues is appropriate and will permit
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 1   undersigned counsel to contact the several impacted clients while the Court determines
 2   the legality of the seizure.
 3          Granting relief creates no harm to the government because counsel has agreed to
 4   maintain and not access the funds subject to the Warrant. A stay of brief duration will
 5   permit this Court to determine the validity of the Warrant and for counsel to contact
 6   impacted clients.
 7                 RESPECTFULLY SUBMITTED this 9th day of November, 2018.
 8                                       MITCHELL | STEIN | CAREY | CHAPMAN, PC
 9                                       By:   /s/ Anne M. Chapman
10                                             Anne M. Chapman
                                               Attorneys for Witnesses
11
12
13
                                    CERTIFICATE OF SERVICE
14
15          I certify that on November 9th, 2018, I electronically transmitted a PDF version of

16   this document to the Clerk of Court, using the CM/ECF System, for filing and for

17   transmittal of a Notice of Electronic Filing to all CM/ECF registrants:

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19          /s/ Julie Greenwood

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